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             STATUS CONFERENCE HEARING DATE AND TIME: APRIL 25, 2019 AT 10:30 A.M. (EDT)
                                HEARING DATE AND TIME: MAY 21, 2019, AT 10:00 A.M. (EDT)
                                           OBJECTION DEADLINE DATE AND TIME: TBD

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                  )           Chapter 11
                                                        )
MIAMI METALS I, INC., et al.,1                          )           Case No. 18-13359 (SHL)
                                                        )
                              Debtors.                  )           (Jointly Administered)
                                                        )

         NOTICE OF DEBTORS’ AND THE SENIOR LENDERS' JOINT MOTION
           FOR SUMMARY JUDGEMENT AS TO BUCKET 1 CUSTOMERS


    THIS MOTION SEEKS TO EXPUNGE CERTAIN CUSTOMER STATEMENTS.
    CUSTOMERS RECEIVING THIS MOTION SHOULD LOCATE THEIR NAMES
             AND CLAIMS ON EXHIBIT A ATTACHED HERETO.

                 IF YOU HAVE QUESTIONS, PLEASE CONTACT THE DEBTORS’
                      COUNSEL, AKERMAN LLP, AT (214) 720-4300.


         PLEASE TAKE NOTICE that upon the accompanying (i) Memorandum of Law in

Support of Debtors' and Senior Lenders Joint Motion for Summary Judgment as to Bucket 1

Customers; (ii) Declaration of Scott Avila; and (iii) Debtors’ and Senior Lenders’ Joint

Statement of Mutual Undisputed Facts pursuant to Local Bankruptcy Rule 7056-1, the Debtors

and the Senior Lenders, by and through its undersigned counsel, will move this Court before the

Honorable Sean H. Lane, United States Bankruptcy Judge, in the United States Bankruptcy


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites
206 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW
38th Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295
Northwest 163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC),
12900 NW 38th Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW
38th Avenue, Miami, FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue,
Miami, FL 33054 (1507); Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054
(4696); Miami Metals VIII (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054
(6102); Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001
China (1639); and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro
Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).



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Court for the Southern District of New York, One Bowling Green, New York, New York 10004,

on May 21, 2019, at 10:00 a.m. (ET), or as soon thereafter as counsel can be heard, for entry of

an order, pursuant to Rule 56 of the Federal Rules of Civil Procedure, made applicable to this

contested matter pursuant to 7056 of the Federal Rules of Bankruptcy Procedure: (i) finding

that: (a) the Disputed Assets constitute property of the Debtors’ bankruptcy estates; and (b) the

Bucket 1 Customers2 lack any ownership interests in the Disputed Assets; (ii) dismissing all

Bucket 1 Claims with prejudice; and (iii) granting such other and further relief as the Court

deems just and proper.

          PLEASE TAKE FURTHER NOTICE that the Court will hold a status conference on

April 25, 2019, at 10:30 a.m. (ET), to set an objection deadline and consider additional briefing

and hearing schedules. The Debtors and the Senior Lenders will notify all parties entitled to

receive notice of the objection deadline and if considered, additional briefing and hearing

schedules established by the Court.



                               [SIGNATURE PAGE TO FOLLOW]




2
    A list of the Bucket 1 Customers is set forth on Exhibit A.


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 Dated: New York, New York                      Dated: April 19, 2019
        April 19, 2019

 LUSKIN, STERN & EISLER LLP                     AKERMAN LLP



 By: /s/ Michael Luskin                         By:/s/ John E. Mitchell
         Michael Luskin                                 John E. Mitchell (Admitted Pro Hac)
         Stephan Hornung                                Yelena Archiyan
         Alex Talesnick                                 2001 Ross Avenue, Suite 3600
         Eleven Times Square                            Dallas, TX 75201
         New York, New York 10036                       Tel.: (214) 720-4300
         Tel.: (212) 597-8200                           Fax: (214) 981-9339
         Fax: (212) 974-3205
                                                              -and-

                                                       Andrea S. Hartley (Admitted Pro Hac)
 Counsel for the Senior Lenders                        Joanne Gelfand (Admitted Pro Hac)
                                                       Katherine C. Fackler (Admitted Pro Hac)
                                                       98 Southeast Seventh Street, Suite 1100
                                                       Miami, FL 33131
                                                       Tel.: (305) 374-5600
                                                       Fax: (305) 374-5095

                                                Counsel for Debtors and Debtors-in-Possession




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                                                 EXHIBIT A
                                          Buckets 1 Customers


         Dkt No.                                       Customer
             465    7645635 Canada Inc. o/a Ottawa Gold Buyer
             478    Alex Morningstar Corp. d/b/a Morningstar’s
             829    Auris Noble, LLC
             425    Bay Area Metals
             463    Brilliant Jewelers / MJJ Inc. (Anjay Corp.)
             441    Cyber-Fox Trading, Inc.
             475    Deb Schott, Inc.
             396    Design Gold Group, Inc.
             458    Eddie & Co. of NY, Inc. d/b/a Diamond Kingdom
             474    FCP Diamonds, LLC
             444    Geib Refining Corp.
             477    General Refining and Smelting Corp.
             434    INTL FCStone Ltd
             476    Mid-States Recycling, Inc.
             449    Midwest Refineries, LLC
             468    Mitchell Levine (Erie Management Partners, LLC) (Plat/Co.)
             445    Music City Group, LLC
             481    Noble Metal Services, Inc.
             479    PPS, Inc. d/b/a Braswell & Son
             411    Pyropure, Inc. d/b/a Pyromet
             405    Queen of Pawns & Jewellery, Inc.
             584    San Diego Gold Exchange, Inc.
             456    So Accurate Group, Inc.
             452    Texas EZPAWN, L.P.
             466    The Gold Refinery, LLC / Norman Bean




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